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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

 CHRISTOPHER R. DORWORTH,
     Plaintiff,                               Case No.: 6:23-cv-00871-JA-DCI

 v.

 JOEL MICAH GREENBERG, ANDREW W.
 GREENBERG, SUE GREENBERG, ABBY
 GREENBERG, AWG, INC., GREENBERG
 DENTAL ASSOCIATES, LLC, GREENBERG
 DENTAL & ORTHODONTICS, P.A., GREENBERG
 SPECIALTY GROUP, LLC, and A.B.,
      Defendants.
       ______________________/

   DEFENDANT, JOEL GREENBERG’S, MOTION FOR ENTITLEMENT
    TO ATTORNEY’S FEES AND SANCTIONS AGAINST PLAINTIFF,
                 CHRISTOPHER DORWORTH

       The Defendant, JOEL GREENBERG, by and through his undersigned

 counsel, hereby moves this Honorable Court for his attorney’s fees and sanctions.

 Mr. Greenberg’s claim is based on 1) the Florida RICO statute; and (2) the Court’s

 inherent powers.

                            STATEMENT OF FACTS

       Background

       On August 19, 2020, the Grand Jury returned its Second Superseding

 Indictment against Joel Greenberg charging him with various criminal offenses

 including sex trafficking of a then seventeen-year-old high school student with the




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 initials A.B. See United States v. Greenberg, Case No. (M.D. Fla. 2021), at DE 51.1

 On May 17, 2021, Mr. Greenberg pled guilty pursuant to a plea agreement to sex

 trafficking, identity theft, wire fraud, and conspiracy. See Docs. 105-106. Mr.

 Greenberg’s plea agreement contained a substantial assistance provision that

 required him to cooperate with the Government. See Doc 105 at 9-10. The

 agreement further provided that Mr. Greenberg was required to be truthful and

 was subject to prosecution if he lied. Id. Furthermore, the plea agreement specified

 that none of the information Joel Greenberg provided pursuant to any proffers

 with the Government could be used against him to either raise his sentence or

 bring additional charges. Id. at 11.

       The Government’s investigation of Greenberg’s sex trafficking crime was not

 limited to the Defendant’s proffer. Rather, the United States Attorney’s Office for

 the Middle District of Florida, as well as the Federal Bureau of Investigation and

 Untied States Secret Service, conducted an investigation that included, among

 other things, obtaining proffers from other defendants and interviewing witnesses

 including the young women entangled in the sex scheme. Such witnesses included

 young women, including young women with the initials KM, BG, KL, as well as the

 minor victim AB. KM, BG, and AB, in addition to other witnesses, also provided

 Grand Jury testimony.

        During its investigation, the Government obtained documentary evidence


 1 The docket entries pertaining to Joel Greenberg’s federal criminal case will utilize the

 abbreviation “DE.” The docket entries pertaining to the instant matter will use the
 abbreviation “Doc.”
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 including telephone records, text messages, emails, and financial evidence. In

 regard to the financial records, the Government obtained credit card and bank

 records, as well as evidence of Venmo payments to the young women from

 Greenberg and others. Based on the Government’s investigation it found the

 following facts:

       Greenberg paid for commercial sex acts. In particular, Greenberg was
       involved in what are sometimes referred to as "sugar daddy"
       relationships where he paid women for sex, but attempted to disguise
       the payments as "school-related" expenses or other living expenses.
       Greenberg had an online account at a website that advertised itself as
       a place where "sugar daddies" could find "sugar babies” (referred to
       herein as the "Website"). Greenberg used an account at the Website
       to identify women whom he later paid to engage in commercial sex
       acts with him and others.

       ...

       One of the individuals who Greenberg paid for commercial sex acts
       was a minor under the age of 18 for part of the time when Greenberg
       paid her to engage in commercial sex acts with him and others
       (referred to herein as the "Minor"). Greenberg met the Minor over the
       Internet on the Website.

       ...

       After that, Greenberg and the Minor met at hotels in the Middle
       District of Florida, often with others, at which Greenberg and the
       Minor engaged in commercial sex acts. Greenberg engaged in
       commercial sex acts with the Minor in the Middle District of Florida
       at least seven times when she was a minor. During these commercial
       acts, Greenberg often would offer and supply the Minor and others
       with Ecstasy, which Greenberg would take himself as well.
       Oftentimes, Greenberg would offer to pay the Minor and others an
       additional amount of money to take Ecstasy. Greenberg also
       introduced the Minor to other adult men, who engaged in commercial
       sex acts with the Minor in the Middle District of Florida.



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       Greenberg's payments for commercial sex acts with the Minor
       involved several facilities and instrumentalities of interstate
       commerce. For example, Greenberg and the Minor used their cell
       phones in the Middle District of Florida to call or text each other on
       or about April 24, 2017, June 4, 2017, June 5, 2017, June 6, 2017, June
       7, 2017, June 8, 2017, June 9, 2017, June 17, 2017, June 22, 2017, June
       23, 2017, June 24, 2017, June 25, 2017, June 26, 2017, June 28, 2017,
       June 30, 2017, July 14, 2017, July 15, 2017, July 23 2017, July 24,
       2017, and July 30, 2017, many of which calls or texts were for the
       purpose of scheduling times to meet to engage in commercial sex acts.

       ...

       At times, Greenberg used his access to the Florida Driver and Vehicle
       Information Database (known as "DAVID") to look up and investigate
       his sexual partners. Those searches were not authorized and violated
       the federal Driver's Privacy Protection Act, and they had nothing to do
       with any legitimate activities of the Tax Collector's Office. One of the
       individuals whom Greenberg searched for in the DAVID system was
       the Minor. On or about September 4, 2017 at 1:29 p.m., Greenberg ran
       a search for the Minor, because he had reason to believe that the
       Minor was under the age of 18.

 Greenberg Plea Agreement, DE 105 at 28-31 (emphasis added).

       Based on Joel Greenberg’s cooperation, the Government moved for a 10-

 level guideline departure. See DE 154. The Government’s motion stated that that

 Mr. Greenberg provided truthful testimony to the Government. Id. Taking the

 Government’s motion into account, the Court sentenced Mr. Greenberg to 132

 months in the Bureau of Prisons. DE 183.

       Dorworth’s Complaint

       After the Plaintiff filed his initial Complaint in state court, the action was

 removed to the Middle District of Florida on May 10, 2023. Over the course of 115

 pages and 918 paragraphs, the Complaint raised numerous claims against the


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 Defendants including five various claims under the Federal Racketeer Influenced

 Corrupt Organizations Act (RICO), as well as three state claims based on

 defamation and civil conspiracy. Doc. 1-1 at 102-114. Numerous paragraphs

 asserted allegations that were not relevant to any of the claims but rather designed

 to cast aspersions on Joel Greenberg beyond his federal crimes. For example,

 paragraphs 57-62 of the Complaint described Joel Greenberg’s adolescent

 struggles with attention deficit disorder and Tourette’s Syndrome. Id. at ¶¶ 57-62.

 In a similar way, paragraphs 64 and 66 detailed Greenberg’s failures in school. Id.

 at ¶¶ 64; 66. The Amended Complaint also directed its contempt to the other

 defendants. It provided gratuitous allegations concerning alleged venereal

 diseases, the minor victim’s adult film career, as well as suggesting that the

 Defendant Greenberg Dental was a racist pill mill.2 See Doc. 1-1 at ¶¶ 19, 260, 270,

 368, 370-71, 447, and 472.

       Regardless of the attacks on Joel Greenberg (unquestionably an easy mark)

 and the other Defendants, the Complaint descended into the implausible, if not the

 ludicrous – concocting a theory that the Defendants, including the minor victim

 and a dental company, formed a RICO Enterprise to falsely implicate the Plaintiff.




 2 Stripping away the rhetorical niceties that underpin most federal pleadings, the
 Amended Complaint is suffused with the Plaintiff’s inescapable venom for the
 Defendants. But as this motion establishes, the drafting of a federal pleading in a
 venomous, if not spiteful, spirit has generated a Complaint that disregards the factual in
 favor of the speculative.


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 See, e.g, Doc. 1 at ¶¶ 4, 29. Without any basis in fact or law, the Amended

 Complaint alleged:

        Upon Information and belief, the Greenberg Racketeering Enterprise
        underwrote a massive effort to falsely implicate Plaintiff and others in
        misconduct, either in retaliation for their failure to aid Greenberg in
        escaping accountability, or in a misguided attempt to obtain a further
        reduction in his sentence for “cooperating’ with the Government.
 Doc 1 at ¶ 31.
        Rather than abandoning the excesses of the initial Complaint, the Plaintiff

 perpetuated the nonsense by filing an Amended Complaint on August 8, 2024. See

 Doc. 62. To make matters worse, the new pleading incorporated the allegations of

 the first complaint. See id. at ¶ 348. It also incorporated the four indictments

 returned in Joel Greenberg’s case. Id.

        Like the first Complaint, the Amended Complaint raised state conspiracy

 and defamation claims against Joel Greenberg. Doc. 62. While it kept a single

 Federal RICO claim against Joel Greenberg, the Amended Complaint also added

 substantive and conspiracy Florida RICO claims against Joel Greenberg. See id.3

 Plagued by a non-existent evidentiary basis, the Amended Complaint consistently

 relied on the Plaintiff’s “information and belief” in 45 separate paragraphs. 4 And

 like the first Complaint, the Amended Complaint contended that over a three-year


 3 At its denouement, the Amended Complaint is verified by the Plaintiff and inexplicably

 by his spouse Rebekah Dorworth, who is not a Plaintiff. As Ms. Dorworth’s deposition
 established, she verified the Amended Complaint, notwithstanding her lack of knowledge
 of multiple allegations in the pleading. See Doc. 181-1 at 308-309.

 4 See Doc. 62 at ¶¶  9, 26, 27, 29, 105, 116, 120, 121, 122, 142, 148, 151, 152, 153, 154, 161,
 168, 173, 177, 212, 213, 228, 243, 275, 300, 305, 308, 312, 313, 314, 315, 325, 327, 349,
 353, 356, 357, 358, 368, 369, 370, 374, 376, 392, and 397.
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 period, the Defendants colluded and conspired through a RICO enterprise to

  falsely implicate the Plaintiff in child sex trafficking, and political “ghost schemes”

 to lessen the penalties in Joel Greenberg’s criminal case or to help AB pursue civil

 claims against the Plaintiff and Matt Gaetz. See Doc. 62 at ¶¶ 8, 155. The Plaintiff

 further speculated that this “vast scheme” was financed by Andrew and Susan

 Greenberg, as well as the Greenberg Dental entities. See id. at ¶¶ 93-94. In the

 absence of evidence, the Plaintiff’s ire embraced the slanderous:

          When the Greenbergs were unable to extort and bribe Joels way out
          of trouble, Defendants turned to numerous acts of perjury, lies,
          obstruction, false statements, witness tampering, and bribery to
          induce state and federal prosecutors to falsely charge Plaintiff and
          other prominent and former government officials with crimes, all in
          an attempt to mitigate Joel Greenberg’s prison sentence, exact
          revenge on Dorworth and others for failing to assist their improper
          activity and for other improper purposes.

 Doc. 62 at ¶ 6.


          Concerning the Defendants Abby Greenberg Joel Greenberg, and the minor

 victim AB, the Amended Complaint asserted that these defendants “agreed that

 they would provide false information to the authorities and the federal grand jury

 regarding Dorworth, Matt Gaetz and others.” Id. at ¶ 123. And further argued that

 Joel Greenberg directed “A.B. and her friend” to falsely implicate the Plaintiff,

 Dorworth, and Gaetz in their Grand Jury testimony. Id. at ¶ 120. Turning to Joel

 Greenberg’s proffers, the Plaintiff alleged upon his information and belief that Joel

 Greenberg lied to federal authorities during most if not all of these proffers. Id. at

 ¶ 142.

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       In sum, these were audacious, but implausible claims. As such, they are the

 product of conjecture, rather than evidence, and they of course depend on a series

 of preposterous premises. That is, that a minor victim would come to an agreement

 with both her perpetrator and his ex-wife to commit crimes. That as part of this

 scheme, the minor victim would implicate her perpetrator Joel Greenberg in sex

 crimes before mitigating his sentence through false testimony. It asserts the

 premise that AB’s friend would also agree to commit perjury. It requires the trier

 of fact to accept the proposition that Joel Greenberg would consistently lie in his

 proffers with the Government, in the face of its corroborating evidence, thus

 exposing him to greater sentencing exposure and additional criminal liability. See,

 e.g, 18 U.S.C. § 1001 (criminalizing false statements to federal law enforcement).

 Finally, one of the Amended Complaint’s most egregious tenets is the notion that

 the corporate defendants, as well as Andrew and Susan Greenberg, would both

 participate in and fund “numerous acts of perjury, lies, obstruction, false

 statements, witness tampering, and bribery . . . ” Doc. 62 at ¶ 6.

       Not surprisingly, because the Amended Complaint is founded on a series of

 irrational premises, there is no evidence to support it. The Plaintiff admitted this

 fact in stating that it “is likely to have evidentiary support after a reasonable

 opportunity for further investigation, discovery and public record requests, some

 of which is currently pending.” Doc. 62 at ¶ 41 (emphasis added). And therein lies

 the rub. In the morass of all the speculative allegations made in the Amended

 Complaint, as expanded by the incorporated four indictments and the 115-page

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 initial Complaint, this admission finally provided a rare and clear statement of fact.

 That is, the Plaintiff’s action was filed and perpetuated without adequate

 evidentiary support. Consequently, the Amended Complaint’s insufficient facts

 never raised it beyond a speculative level – a fatal deficiency that the Plaintiff

 hoped to cure through the discovery process.5

       At her deposition, Rebecca Dorworth admitted, before her attorney’s

 intervention, that the Dorworths’ strategy was to verify a Complaint with the hope

 that the discovery process would provide evidence supporting their claims. See

 Doc. 181-1 at 309:13-18. But a strategy predicated on hope rather than a good-faith

 factual basis is an unsuitable, if not deluded, approach to prosecuting a federal

 action. This is especially true since the discovery process failed to produce any

 evidence which raised the Plaintiff’s claims above mere speculation and

 implausibility.

       The Discovery Process

       During the 16 months of this litigation, the Defendants collectively produced

 over 120,000 documents, answered some 40 separate discovery requests and sat

 through approximately 60 hours of depositions. Notwithstanding the scope and

 breadth of the Plaintiff’s investigation, he failed to find a scintilla of evidence

 supporting his remarkable claim that the Defendants engaged in a vast RICO

 conspiracy scheme to falsely implicate him.


 5 As a master class in speculation, the Amended Complaint runs afoul of the Twombly

 standard that governs federal complaints. See Bell Atlantic v. Twombly, 550 U.S. 544
 (2007).
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        Moreover, the Plaintiff failed to find evidence that Joel Greenberg and Abby

  Greenberg agreed with the minor victim to engage in the crimes of lying to federal

  authorities and the Grand Jury. Similarly, there was no evidence that Joel

  Greenberg encouraged AB and her friend to lie to the Grand Jury. And in the face

  of the Government’s written confirmation of Joel Greenberg’s truthfulness, the

  Plaintiff could not uncover any facts that the former consistently lied in his

  proffers. Finally, despite his hope and speculation, Plaintiff never found evidence

  that the Defendants came to any sort of agreement or participated in a vast RICO

  enterprise to falsely implicate Dorworth and others.

        Instead, the discovery taken in this case generated evidence that disproved

  the Plaintiff’s claims. Moreover, during the litigation, the Plaintiff offered sworn

  written and oral testimony that was patently false. See List of Plaintiff’s

  Falsehoods, filed under seal as Exhibit 27 to Defendant’s Motion for Entitlement

  to Attorneys’ Fees, Costs and Sanctions (Doc. 194). Such falsity was established by

  multiple witnesses and documentary evidence. See generally Ex. 27; see also

  Exhibits 1, 2 & 4, filed under seal to Defendants’ Motion for Entitlement to

  Attorneys’ Fees, Costs and Sanctions (Doc. 194).


                               Memorandum of Law

        Against this backdrop, Joel Greenberg moves for his attorney fees based on

  two grounds. First, Mr. Greenberg is entitled to fees under the Florida Rico Statute

  since the Plaintiff has brought his state RICO claim without facts or legal support.


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  Second, Mr. Greenberg is entitled to an award of the attorney fees under the

  inherent power of this Court.

        I.     Joel Greenberg is entitled to fees under Florida’s RICO statute

        Count IV of the Amended Complaint asserted a claim for Florida law RICO

  conspiracy against “all individual Defendants.” Doc. 62 at 54–55. Pursuant to

  § 772.104(3) of the Florida Statutes, “[a] successful defendant in a civil RICO action

  can recover fees when the RICO claim is ‘without substantial fact or legal support.’”

  Royal Palm Village Residents, Inc. v. Slider, Inc., No. 8:19-CV-874-CEH-SPF,

  2021 WL 4452898, at *1 (M.D. Fla. Sept. 29, 2021)(citations omitted) A defendant

  can make this showing even “after a plaintiff’s voluntary dismissal of the claim.”

  Id. at *5. Concerning the “without substantial fact or legal support” standard,

  Florida courts have applied the “less stringent[ly]” to “discourage frivolous Rico

  claims … because the stigma and burden of defending such claims is so great.”

  Hartford Ins. of the Midwest v. Miller, 681 So. 2d 301, 302 (Fla. 3d DCA 1996).

        Thus, the Defendants’ burden is far lower than the burden attached to

  motion brought under Fed, R. Civ. P. 11 or its Florida analogue. See Miller, 681 So.

  2d at 302 (explaining that § 772.104(3)’s standard is “much less strict than that

  contained in Florida Statute section 57.105(1)”). Accordingly, a defendant need

  only show that Dorworth’s lacked sufficient support “to take the question to the

  jury.” See State v. Morales, 460 So. 2d 410, 415 (Fla. 2d DCA 1984) (quotation

  omitted) (defining “substantial evidence”). Such a showing is apparent since the

  Plaintiff’s Amended Complaint was predicated on speculation rather than evidence

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  and the 16-month discovery process only managed to produce evidence

  contradicting Dorworth’s claims.

        Notably, the Plaintiffs’ voluntary dismissal of his Amendment Complaint on

  September 5, 2022 (Doc. 185), does not foreclose Greenberg’s request for attorney

  fees. Indeed, the Court has jurisdiction to consider this motion. See Cooter & Gell

  v. Hartmax Corp., 496 U.S. 384, 395–96 (1990) (explaining that “it is well

  established that a federal court may consider collateral issues after an action is no

  longer pending,” including awarding costs and attorney’s fees); Shelton v. Schar,

  No. 5:17-CV-86-OC-PGBPRL, 2018 WL 3636698, at *1–3 (M.D. Fla. Apr. 23, 2018)

  (citing Cooter & Gell and rejecting argument that the Court lacked jurisdiction to

  consider a post notice of voluntary dismissal motion for fees under § 772.104(3)).

  Separately, as a matter of Florida law, Defendants can make the requisite showing

  even “after [Dorworth’s] voluntary dismissal of the claim.” Royal Palm Vill., 2021

  WL 4452898, at *5.

        “Courts look with particular scrutiny at claims for a civil RICO, given the

  statute’s damaging effects on the reputations of individuals alleged to be engaged

  in RICO enterprises and conspiracies.” See Purchase Real Estate Grp., Inc. v.

  Jones, 05 CV 10859, 2010 WL 3377504, at *6 (S.D.N.Y. Aug. 24, 2010) (concluding

  particular scrutiny is required for civil RICO claims to ensure that the RICO statute

  is used for the purposes intended by Congress) Accordingly, “courts should strive

  to   flush   out   frivolous   RICO   allegations   at   an   early   stage   of   the



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  litigation.’” Flexborrow LLC v. TD Auto Finance LLC, 255 F.Supp. 3d 406, 414

  (E.D.N.Y. 2017).

         To prove a RICO conspiracy, a plaintiff must prove that the defendants

  either “agreed to the overall objective of the conspiracy” or “agreed to commit two

  predicate acts.” Am. Dental Ass’n v. Cigna Corp., 605 F.3d 1283, 1293 (11th Cir.

  2010).6 After extensive discovery over a 16-month period, the Plaintiff has failed to

  produce any evidence supporting his RICO claim.

         A critical aspect of this case is that A.B. and others attended one of multiple

  parties at Dorworth’s home that involved “alcohol; cocaine; middle-aged men; and

  young attractive females.” Doc. 183-2 ¶ 24; Ex. 2 ¶¶ 16, 19; see also Exhibit 3, attached

  hereto. The Plaintiff’s asserted that Joel Greenberg made false statements

  regarding Dorworth’s participation in a party at which A.B. was present at his

  residence on July 15, 2017. Rather than producing evidence of such dishonesty, the

  discovery process revealed that Greenberg’s contention was true. Indeed, phone

  records and sworn witness testimony, both through affidavits and depositions,

  established Dorworth’s presence at the party on July 15, 2017. See Ex. 1 at 77:11–

  20; 108:10–22; 101:13–102:8; Ex. 2 at ¶ 16, Ex. 4 at 32:19–33:17 & 318:25–319:3.

  See also Weiss Affidavit, at Doc. 194-17.



  6 See Omnipol, A.S. v. Multinational Def. Servs., LLC, 32 F.4th 1298, 1308 (11th Cir. 2022) (“[T]he

  analysis of both the federal and state RICO claims is the same.”); Lugo v. State, 845 So.2d 74, 96
  n. 39 (Fla.2003) (since “Florida[’s] RICO statute ... is patterned after its federal
  counterpart ... Florida courts may look to federal RICO decisions as persuasive
  authority”).

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        The Plaintiff further failed to prove that the Defendants agreed, as part of

  their RICO scheme, to fund AB to lie to the federal government and to testify falsely

  before the Grand Jury. Putting aside the inconvenient fact that AB’s testimony was

  true, the Plaintiff could not find evidence showing either the agreement or the

  funding. Nevertheless, the Plaintiff persisted in the contention by relying primarily

  on the argument that Andrew Searle, an esteemed attorney and honorable man,

  received funding from the Greenberg enterprise, to carry out the scheme. While

  such a speculation is absurd on its face, it is also belied by Andrew Searle’s affidavit

  – a simple and forthright declaration that states he never received a dime from any

  of the Defendants. See Doc. 194-9. And it should go without saying that the Plaintiff

  failed to uncover any evidence establishing that that the Defendants committed

  numerous acts of “perjury, lies, obstruction, false statements, witness tampering,

  and bribery.”

         In the end, the Plaintiff’s failures were unavoidable. When a Complaint is

  predicated on the implausible, with its handmaidens of conjecture and

  speculation, the result is what we have in the instant case: a pleading that is a tale

  of sound and fury, signifying nothing. See William Shakespeare, Macbeth, Act 5, Scene 5,

  19-28 (1603)

        Because Dorworth’s claim was without substantial basis in fact or law, Joel

  Greenberg is entitled to his reasonable fees under § 772.104(3), Fla. Stat.




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     I.     Joel Greenberg is entitled to fees and dismissal with prejudice
            under this Court’s inherent powers because Dorworth brought
            and maintained this action in bad faith.


          Confronted with a meritless complaint, brought without evidence and

  suffused with speculation, the Court may impose sanctions for “bad faith,”

  vexatious, wonton, or “oppressive” behavior. Chambers v. NASCO, Inc., 501 U.S.

  32, 44-46 (1991). A court is empowered to bring such sanctions after a voluntary

  dismissal of the underlying case. See Hyde v. Irish, 962 F.3d 1306, 1310 (11th Cir.

  2020)(“[A] district court may address a sanctions motion based on its inherent

  powers … even if it lacks jurisdiction over the underlying case.”); see also Fid. Land

  Tr. Co., LLC v. Mortg. Elec. Registration Sys., Inc., No. 6:12-CV-1367-ORL-37,

  2012 WL 6720994, at *3 (M.D. Fla. Dec. 4, 2012) (recommending that the court

  grant a motion for sanctions under the Court’s inherent power filed after a notice

  of voluntary dismissal).

          To impose such sanctions, the Court must find that the sanctioned party

  acted in “subjective bad faith.” Irish, 962 F.3d at 1310 (emphasis deleted).

  Permissible sanctions include fees and dismissal with prejuidice. Chambers, 501

  U.S. at 45–46 (fees); Obukwelu v. Bd. of Trs. Fla. State Univ., 837 F. App’x 686,

  687–88 (11th Cir. 2020)(dismissal). Even when a party has voluntarily dismissed

  their claim, the Court may convert that dismissal into one with prejudice as a

  sanction because doing so does “not require a determination on the merits.” Zow




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  v. Regions Fin. Corp., 595 F.App’x 887 888 (11th Cir. 2014).7

        The Court should sanction Dorworth under its inherent power because the

  “record demonstrates that [he] acted willfully and in bad faith” by filing two

  verified complaints with unsupported, egregious and defamatory assertions

  against a minor victim, a dental company and the defendant’s ex-wife and parents.

  In attacking Joel Greenberg for his proffers and directing his venom at a minor

  victim (who he dismissed as an adult entertainment star), the Plaintiff sought to

  usurp the federal criminal justice system which is based on cooperation of

  defendants and more importantly the protection of victims.

        Faced with a lack of evidence supporting his claims, the Plaintiff was

  unrepentant – turning his attacks at Attorney Andrew Searle and asserting

  falsehoods under oath throughout the litigation process. As Exhibit 27

  demonstrates, this litigation was plagued by the Plaintiff’s multiple falsehoods.

        Moreover, Dorworth caused his wife to verify false statements under oath in

  his amended verified complaint. See Doc. 181-1 at 33:18–24. And he failed to

  intervene when she repeated such lies during her deposition. But of course, the

  Plaintiff cannot help himself. Although aware that his implausible claims do not

  have a factual basis, the Plaintiff has continued his vendetta against Joel Greenberg


  7 On its own motion, the Court could also order Dorworth to show cause under Federal

  Rule of Civil Procedure 11(c)(3) why his voluntary dismissal should not be converted to a
  dismissal with prejudice as a non-monetary sanction under Federal Rule of Civil
  Procedure 11(c)(4). See Johnson v. 27th Ave. Caraf, Inc., 9 F.4th 1300, 1315 (11th Cir.
  2021) (“[W]here the client has made a knowing factual misrepresentation or is the
  mastermind behind the frivolous case, [Rule 11] sanctions against a client are
  appropriate.” (quotations omitted)).
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  and his parents in state court. See State Complaint, at Doc. 194-24. Dorworth’s

  state court complaint continues to allege that the Greenbergs are liable to him

  because they financed false testimony against him—though now apparently

  alleging in the alternative that such aid may have been negligent. Id. at ¶¶ 38–55.

  Furthermore, and inexplicably, Dorworth continues to allege that “[u]pon

  information and belief,” the Greenbergs paid A.B.’s attorney’s fees. Id. at ¶ 79. Is

  here any better example of subjective bad faith? The Court should now act to

  ensure that bad faith litigants like Dorworth cannot freely impose the Court’s

  power to his own illegitimate ends—defiling “the very temple of justice”—and then

  get away with impunity. Chambers, 501 U.S. at 46.

        The Court should therefore employ its inherent power to defend the judicial

  process’s legitimacy by ordering Dorworth to pay Defendants’ fees incurred in

  defending this frivolous action and by converting his dismissal without prejudice

  into one with prejudice.

                                    CONCLUSION

        Approximately 16 months ago, the Plaintiff filed a Complaint and started a

  litigation process that eschewed evidence in favor of the absurd. And from that

  ignominious genesis, and after 16 months, the Plaintiff only accomplishment was

  to place this matter in a dark wood8 -- a morass of rabid condemnation and wild

  conjecture. In the end, who knows what lurks in the heart of men, let alone


  8 See Dante Alighieri, La Divina Commedia, Inferno, Canto I (1472) (“Midway through

  this life we borne upon I found myself in a dark wood where the way of truth was wholly
  lost and gone”).
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  Dorworth. And who knows what motivates a Plaintiff to abuse the court system to

  pursue claims against Defendants, which he knows are not true. Regardless,

  federal courts should not provide the canvas for his ill-advised agenda – an agenda

  that never pursued the truth but rather sought its perversion.

        Based on the foregoing discussion and authorities, the Court should grant

  Defendants’ motion for fee entitlement.9

                     CERTIFICATION OF CONSULTATION

        Pursuant to Local Rule 3.01(g), I consulted with counsel for the Plaintiff who

  advised that they opposed the relief requested in this motion.

                                               Respectfully submitted,

                                               /s/ Fritz Scheller
                                               Fritz Scheller
                                               Florida Bar No. 183113




  9 Pursuant to Local Rule 7.01(b)(2), the Defendant provides his fair estimate of the

  amount of fees sought to be recovered: Joel Greenberg has incurred approximately
  $289,770 in attorney’s fees.
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                              CERTIFICATE OF SERVICE
        On September 19, 2024, I electronically filed the foregoing with the clerk of

  the court by using the CM/ECF system, which will send a notice of electronic filing

  to all parties of record.

                                               /s/ Fritz Scheller
                                               Fritz Scheller
                                               Florida Bar No. 183113
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                                               Orlando, Florida 32801
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